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                      CASE NO. 2023-1663

                  NONCONFIDENTIAL VERSION

                BEFORE THE UNITED STATES
         COURT OF APPEALS FOR THE FEDERAL CIRCUIT

     STUPP CORPORATION, A DIVISION OF STUPP BROS, INC.,
    IPSCO TUBULARS, INC., MAVERICK TUBE CORPORATION,
                                Plaintiffs,
                 WELSPUN TUBULAR LLC USA,
                                Plaintiff-Appellee
                                V.

                        UNITED STATES,
                                Defendant-Appellee,
                   HYUNDAI STEEL COMPANY,
                                Defendant,
                      SEAH STEEL CORP.,
                                Defendant-Appellant

    APPEAL FROM THE U.S. COURT OF INTERNATIONAL TRADE
 IN CASE NOS. 15-CV-00334, 15-CV-00336, AND 15-CV-00337,
                  JUDGE CLAIRE R. KELLY

              NONCONFIDENTIAL REPLY BRIEF
          OF APPELLANT SEAH STEEL CORPORATION

                          Submitted by

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                        January 8, 2024
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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2023-1663
   Short Case Caption Stupp Corporation v. U.S.
   Filing Party/Entity SeAH Steel Corporation



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

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     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        01/08/2024
  Date: _________________                   Signature:    /s/ Jeffrey M. Winton

                                            Name:         Jeffrey M. Winton
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FORM 9. Certificate of Interest                                                            Form 9 (p. 2)
                                                                                            March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      0 None/Not Applicable            □ None/Not Applicable

                                                                      SeAH Steel Holdings Corporation
SeAH Steel Corporation




                                  □      Additional pages attached
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FORM 9. Certificate of Interest                                                              Form 9 (p. 3)
                                                                                              March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 □        None/Not Applicable                   □        Additional pages attached
                                  Law Office of Jeffrey M. Winton PLLC
Winton & Chapman PLLC

Amrietha Nellan




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
       Yes (file separate notice; see below)         □    No       □      N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 0        None/Not Applicable                   □        Additional pages attached
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CONFIDENTIAL MATERIAL OMMITTED

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on page 26.

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omitted from pages 26 and 27.




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                       NONCONFIDENTIAL REPLY BRIEF OF APPELLANT
                              SEAH STEEL CORPORATION

          This brief is submitted on behalf of Appellant SeAH Steel Corporation

(“SeAH”) in the appeal of the February 24, 2023, decision by the Court of

International Trade (the “CIT”) in Stupp v. U.S., Consol. Ct. No. 15-00334.

          A.     Commerce’s Use of Professor Cohen’s Proposed
                 Thresholds for Evaluating the d Statistic Is Not
                 Consistent with Normal Statistical Practice

          In its decision in Stupp III, this Court held that, when an agency purports

to apply a mathematical tool, it must apply that tool in a manner consistent

with the tool’s assumptions.1 As the Court explained,

                 ... Professor Cohen derived his interpretive cutoffs under
                 certain assumptions. Violating those assumptions can
                 subvert the usefulness of the interpretive cutoffs,
                 transforming what might be a conservative cutoff into a
                 meaningless comparator.2

In Stupp III, the Court concluded that “the evidence and arguments before us

call into question whether Commerce’s application of the Cohen’s d test to

the data in this case violated the assumptions of normality, sufficient

observation size, and roughly equal variances associated with that test.”3 This


1
    Stupp Corp. v. U.S., 5 F.4th 1341 (Fed.Cir. 2021) (hereinafter “Stupp III”).
2
 See Stupp III at 1360, citing Virnetx, Inc. v. Cisco Sys., Inc., 767 F.3d 1308,
1332 (Fed.Cir. 2014).
3
    Id.
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Court therefore remanded this case to give Commerce an opportunity to

explain “whether the limits on the use of the Cohen’s d test prescribed by

Professor Cohen and other authorities were satisfied in this case or whether

those limits need not be observed when Commerce uses the Cohen’s d test in

less-than-fair-value adjudications.”4 And, the Court explicitly invited

Commerce “to clarify its argument that having the entire universe of data

rather than a sample makes it permissible to disregard the otherwise-

applicable limitations on the use of the Cohen’s d test.”5

          As explained in our initial brief, Commerce’s redetermination failed to

address the Court’s concerns. Commerce did not explain how its use of

Cohen’s d was consistent with normal statistical practice. Instead, Commerce

asserted that it was not bound by normal statistical practice, because it was

not using Cohen’s d in the manner that statisticians use it.6 Commerce’s

assertion means that it cannot rely on statistical practice to justify its use of

Cohen’s d in the DPA. Instead, if the DPA is to be upheld, Commerce must

demonstrate that its use of Cohen’s d in a manner inconsistent with statistical

practice is nevertheless reasonable.


4
    Id.
5
    Id.
6
    See SeAH Initial Brief at 8-9.


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       In this regard, we note that the Government’s brief repeatedly cites to this

Court’s 2019 decision in Mid Continent Steel & Wire as upholding

Commerce’s use of Cohen’s d against SeAH’s challenges.7 But that Mid

Continent decision pre-dated the decision in Stupp III that led to the remand

that is the subject of the present proceedings. This Court undoubtedly was

aware of the Mid Continent when it issued Stupp III. If Mid Continent had

disposed of SeAH’s arguments, we would not be here.

            1. Nothing in the Academic Literature Addressed by
               Commerce Authorizes the Use of Cohen’s d when the
               Underlying Assumptions Are Not Satisfied, Whether the
               Analysis Concerns an Entire Population or Just a Sample

       The Government asserts that Commerce’s methodology can be

considered consistent with normal statistical practice, because Professor

Cohen’s text states that “effect size is a phenomenon of the population and it

exists independent of any statistical analysis based on data sampled from that

population.”8 Based on that statement, the Government contends that

Commerce was permitted to disregard the assumptions required by Professor




7
 See Government Brief at 41, 44, and 47, citing Mid Continent Steel & Wire,
Inc. v. U.S., 940 F.3d 662 (Fed.Cir. 2019).
8
    Id. at 26.



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Cohen’s text for use of the d statistic, because its analysis considered the full

population, and not just a sample.9

          The Government’s argument is, however, fundamentally dishonest. To

begin with, Professor Cohen’s reference to effect size as “the degree to which

the phenomenon is present in the population” is found in Chapter 1 of his text,

where Professor Cohen introduces the general concept of “power analysis.” It

is not found in Chapter 2, which describes the use of the d statistic. Professor

Cohen explicitly stated that “Each of the Chapters 2-10 will present in some

detail the ES index appropriate to the test to which the chapter is devoted.”10

Chapter 2 is devoted to the t-test. And, as Professor Cohen made clear,11 and

as Commerce has admitted, 12 a t-test is appropriate only with data that is

Normally distributed and has equal variances and sufficient data points.

Professor Cohen’s general statements about effect sizes in a population in

Chapter 1 of his text simply have no bearing on the proper use of the d

statistic, as described in Chapter 2 of his book.

9
    Id.
10
  See Cohen, STATISTICAL POWER ANALYSIS FOR THE BEHAVIORAL SCIENCES
(2d ed. 1988) at 13 (Appx3757).
11
     Id., at 19 (Appx3762).
12
 See Commerce’s April 4 Final Results of Redetermination Pursuant to
Court Remand at 42-43 (Appx0069-0070) (hereinafter “Redetermination”).



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      More generally, the description of the “effect size” as the “degree to

which the phenomenon is present in the population” says nothing about the

use of any particular test or thresholds to evaluate the effect size in the

population. The fact that a population may have an inherent “effect size”

does not mean that it is appropriate to rely on a d statistic, and the specific

thresholds that Professor Cohen proposed for use with that statistic, when

Professor Cohen explicit stated that the d statistic was intended only for use in

conjunction with a t-test on data that is Normally distributed and has equal

variances and sufficient data points.

      As we have explained previously, Normal distributions — whether based

on a sample or encompassing an entire population — have very different

mathematical characteristics than non-Normal distributions.13 In light of the

mathematical differences between Normal and non-Normal distributions,

there is no reason to believe that a rule-of-thumb (such as Professor Cohen’s

proposed thresholds) that was developed to be used with Normal distributions

can properly be applied to non-Normal data — whether the data being

considered is a sample or an entire population. Commerce has never offered

any mathematical calculations supporting the conclusion that Professor


13
     See SeAH Initial Brief at 26-27.



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Cohen’s proposed thresholds have the same meaning for non-Normal data

that they would for Normal distributions. Nothing in the briefs submitted by

the Government or Welspun remedy that fundamental omission.

           2. The Government’s Suggestion that SeAH
              Made a “Concession” that the Academic
              Literature Does Not Preclude Commerce’s
              Use of Cohen’s d Is False and Misleading

      In our initial brief, we noted that Commerce’s argument regarding the use

of Cohen’s d was “purely negative,” because Commerce asserted only that

none of the texts on the record prohibit its proposed use of Cohen’s d. In

response, the Government asserts that our statement represents “a concession”

that “nothing in the academic literature states that it is improper to use

Cohen’s d in the manner utilized by Commerce.”14

      As discussed above, the Government’s argument is directly contradicted

by Professor Cohen’s own text, which specifically states that the d statistic

was intended only to be used in conjunction with a t-test, and that t-tests may

be used only when the data satisfies the assumptions of Normal distribution,

equal variances, and sufficient data points.15 More generally, the




14
     Government Brief at 23.
15
     See e.g., Cohen at 17, 19 (Appx 3761-3762).



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Government’s assertion ignores the very limited nature of the remand

proceeding conducted by Commerce.

     In Commerce’s remand proceeding, SeAH was not permitted to introduce

any and all academic materials it deemed relevant. Instead, Commerce

allowed SeAH only to place on the record the academic materials that had

previously been cited to this Court. Commerce then attempted to explain why

none of the material previously cited to this Court addressed its use of

Cohen’s d. But Commerce never essayed a full survey of the academic

literature, and it did not permit SeAH to present such a survey or other

evidence of the academic understanding of the proper use of Cohen’s d.

     As the Canadian amici have noted, there are other sources of information

about the academic understanding of the limitations on the use of Cohen’s d

that might have been made available to Commerce if Commerce had

permitted a more wide-ranging proceeding. For example, the Canadian amici

have, in other proceedings, submitted an export report by Professor Larry

Hedges addressing the consistency of Commerce’s use of Cohen’s d with the

academic understanding.16


16
  Amici Brief at 3 (citing Larry V. Hedges, Review and Analysis of the
Cohen’s d Test as Used in the U.S. Department of Commerce’s Differential
Pricing Methodology (Dec. 27, 2022) (hereinafter “Hedges’ Report”)).



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      Professor Hedges is a world-renowned expert on “effect-size” analysis,

whose g statistic for measuring effect size “was ... developed to remove a

small positive bias affecting the calculation of d,”17 and is “commonly

used.”18 His conclusions regarding Commerce’s use of Cohen’s d are clear:

           The relations between Cohen’s d and measures of overlap
           used to interpret d do not hold when the distributions being
           compared do not have equal standard deviations or are not
           normally distributed. Therefore, any interpretations of d
           based on assuming normal distributions with equal standard
           deviations cannot be relied upon if these assumptions are
           violated....19

           When the assumption that the two populations being
           compared are normally distributed and have the same
           standard deviation are not met, Cohen’s d cannot be the
           interpreted in the same way as when these assumptions are
           met. Indeed, Cohen never suggested using d to compare
           distributions that were not normal and it would not be
           accepted statistical practice to do so.20

           Regardless of whether the distributions being compared are
           samples or populations, the interpretation of d remains the
           same—when the distributions are normal with equal



17
  See Ellis, Paul, THE ESSENTIAL GUIDE TO EFFECT SIZES: STATISTICAL
POWER, META-ANALYSIS, AND THE INTERPRETATION OF RESEARCH RESULTS
(2010) at 27 (Appx4411).
18
 See Lane, David, et al., Introduction to Statistics, Online Edition,
Chapter 19 (Appx4350-4351).
19
     Hedges’ Report at 3-4.
20
     Id. at 15 (emphasis added).



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           standard deviations the interpretation of d is different than
           when they are not….21

           Whether the groups Commerce uses to compute d are a
           population or a sample, the interpretation of d given by
           Cohen and other statistical experts can only be relied upon if
           the assumptions of normality and equal standard deviations
           are satisfied.22

           Commerce asserts that its analyses are all population based.
           Even if this assertion were correct, it would not obviate the
           need to establish that their effect sizes are large enough to be
           of practical importance. Because Cohen’s conventions
           assume that the distributions being compared are normal
           with the same standard deviation, those conventions cannot
           be used to establish practical importance of d values
           computed from population or sample data in which these
           assumptions are violated.23

As Professor Hedges amply demonstrated in his report, Commerce’s use of

Cohen’s d is not consistent with common statistical practice.

       Of course, we cannot fault Commerce for failing to address an academic

review of its methodology that was not included in the record before it. But

Professor Hedges’ report clearly demonstrates the limitations of Commerce’s

blinkered remand proceeding, which failed to permit a broad discussion of the

academic understanding of Cohen’s d. And it puts the lie to the



21
     Id., Appendix II, at v.
22
     Id., Appendix II, at ix.
23
     Id., Appendix II, at xviii (emphasis added).



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Government’s assertion that our inability to cite such materials (due to

Commerce’s restrictions on the remand proceeding) constitutes a

“concession” that no academic literature disagrees with Commerce’s use of

Cohen’s d.

       We understand that the Government has objected to citations to non-

record academic materials in the initial briefs by SeAH and the Canadian

amici.24 The academic materials on which amici rely are not adjudicative

facts that constitute the “facts of the particular case” such that they must

either be on the record or subject to judicial notice. They instead reflect

principles of statistics bearing on Commerce’s generally applicable

methodology.25 Indeed, this Court has emphasized the importance of the

statistics literature in evaluating Commerce’s use of Cohen’s d and has

considered statistics literature not found on the administrative record in

Stupp III.26 There does not appear to be any reason for the Court to take a

different approach here.




24
     Government Brief at 60-61.
25
     See Fed. R. Evid. 201, cmt. (a).
26
  See Mid Continent Steel & Wire, Inc. v. U.S., 31 F.4th 1367, 1381 (Fed.Cir.
2022); Stupp III, 5 F.4th 1357-58.



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       Finally, we note that we have cited Professor Hedges’ report only to

demonstrate the falsity of the Government’s suggestion that limitations

imposed by Commerce on its remand somehow constitute a concession by

SeAH that there is no academic material refuting Commerce’s proposed use

of Cohen’s d.

       B.   Commerce’s Use of the Cohen’s d Test
            Can Classify Imperceptible Differences
            as Significant, Just as this Court Predicted

       In Stupp III, this Court expressed a separate concern that Commerce’s

simplistic application of its Cohen’s d test could generate arbitrary results

when applied to data with a small number of observations or small price

differences. To support this point, the Court provided a hypothetical example

showing that, when the variances in the data are small, even tiny differences

that had no practical significance could result in a “large” value for d. 27

       Commerce’s Redetermination did not appear to dispute the conclusion

that the example set forth in the Stupp III decision would generate am in

correct “passing” result under the Cohen’s d test. However, the

Redetermination asserted that any harm caused by that incorrect result would

be ameliorated by the “meaningful difference” test, since the minor price



27
     Stupp III at 1358-59.



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differences generated by the Stupp III decision’s hypothetical example would

result in an insignificant difference in the dumping margins under the

different comparison methodologies.28

      As we demonstrated in our initial brief, Commerce’s explanation holds

true only if there is only one product under consideration. If there are

multiple products under consideration, an incorrect finding that there are

“large” price differences for any one product will affect the ultimate outcome

of Commerce’s “Ratio Test,” which depends on the percentage of sales with

“large” price differences. Consequently, even if an incorrect finding of a

“large” price difference for one product does not affect the dumping margin

calculated for that product, it may affect the results of the “Ratio Test” and,

hence, the dumping margins calculated for other products.

      Our initial brief included a hypothetical example demonstrating how, in a

two-product model, the “meaningful difference” test would not prevent

dumping margins from being created by insignificant price differences for

one product that “pass” the Cohen’s d test.29 In response, the Government

contends that it can construct an alternative hypothetical example of a two-



28
     Redetermination at 31 (Appx0058).
29
     Opening Brief at 28-30.



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product model in which dumping margins would not be created.30 But the

Government’s hypothetical is irrelevant. Our brief demonstrated that

Commerce was wrong when it asserted that its “meaningful difference” test

would necessarily prevent the creation of dumping margins from insignificant

price differences.

      Of course, we can construct an infinite number of alternative hypothetical

examples in which dumping margins are or are not created. The existence of

any examples in which dumping margins are created fully disproves

Commerce’s claim that, because of the “meaningful difference” test, there is

no reason for concern about potentially distorted results.

      C.   Commerce’s “Ratio Test” Cannot Give
           Meaningful Results when the Cohen’s d Test Fails
           to Properly Identify Significant Price Differences

           1. If Sales Are Incorrectly Identified as “Passing”
              the Cohen’s d Test, then Commerce’s Calculation
              of the “Ratio Test” Will Necessarily Be Distorted

      By its terms, the results of Commerce’s “Ratio Test” will depend on the

number of sales that “pass” the Cohen’s d Test. If the results of the Cohen’s d

test are inaccurate, the results of the “Ratio Test” will also be inaccurate.




30
     Government Brief at 31-33.



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That conclusion follows, necessarily, from the manner in which the Ratio Test

is calculated.

       Both the Government and Welspun agree that the use of Cohen’s d with

data that does not satisfy Professor Cohen’s assumptions may result in either

an understatement or overstatement of the number of sales passing the

Cohen’s d test. It follows, then that any ratio calculated based on the number

of sales that have a calculated d greater than 0.8 may also be distorted.

       The Government asserts that any distortion caused by the improper

results of the Cohen’s d test is addressed by the fact that the Ratio Test

requires a minimum finding that 33 percent of the sales “pass” the Cohen’s d

test before an alternative margin-calculation methodology is considered.31

But, neither Commerce nor the government nor any of the academic literature

quantify the precise effect of applying the Cohen’s d test to data that does not

satisfy Professor Cohen’s assumptions. To the contrary, the academic

literature suggests that the values of Cohen’s d, when these assumptions are

not met, are meaningless.32




31
     Government Brief at 35.
32
     Stupp III, 5 F.4th at 1360.



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       Furthermore, even if it were somehow possible to identify a “correct”

pass rate in such circumstances,33 a small distortion in the Cohen’s d for any

comparison may have a large impact on the pass rate. For example, if one

somehow could determine that the “correct” Cohen’s d would be 0.799 for

every sale, an improper increase in Cohen’s d of just 0.01 would result in all

sales moving from not passing to passing — which would change the Ratio

Test result from 0 percent to 100 percent. By the same token, if the “correct”

result for the Ratio Test would be 32.999 percent, an improper increase of just

0.001 percent in the number of sales “passing” the Cohen’s d test would move

the Ratio Test result from a negative result to a positive result.

           2. If the Assumptions Required for Use
              of Cohen’s d Are Not Satisfied, then
              the Ratio Test Cannot Properly Distinguish
              Actual “Patterns” from Random Chance

       As we have explained previously, Commerce has made clear that, in

order to make a finding that a “pattern” exists that would justify a departure

from the normal A-to-A comparison under the statute, it must distinguish

between differences that have meaning and those that arise by chance.34


33
  We note that, when the data does not satisfy Professor Cohen’s
assumptions, it is not possible to identify a “correct” Cohen’s d or a “correct”
“pass rate” to be used in the Ratio Test.
34
     See, e.g., SeAH’s Initial Brief at 36.



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When the assumptions described by Professor Cohen are satisfied, a “power

analysis” using the d statistic allows a calculation of the likelihood that an

observed difference reflects a true pattern, and not just chance fluctuations.

By contrast, when those assumptions are not satisfied, no such calculation is

possible.

       The Government contends that the Cohen’s d test is irrelevant to

Commerce’s detection of “patterns,” because the Cohen’s d test was intended

only to determine whether an observed price difference is “significant,” while

the separate Ratio Test is the exclusive tool for determining whether a

“pattern” exists.35 The Government further asserts that the use of the Ratio

Test to distinguish between patterns and chance fluctuations was upheld by

this Court in Stupp III.36

       That argument suffers from two logical flaws: First, as discussed above,

the results of the Ratio Test are not independent from the results of the

Cohen’s d test. Instead, because the “Ratio Test” simply counts the number

of sales that “pass” the Cohen’s d test, a flaw in the Cohen’s d test necessarily

results in an incorrect result from the Ratio Test. If the Cohen’s d test is



35
     See Government Brief at 25, 33-35.
36
     See id., at 34.



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flawed, then any finding regarding the existence of a pattern based on the

“Ratio Test” will also be flawed.

       Second, as we have explained previously, this Court’s decision in

Stupp III did not hold that the “Ratio Test” provided a reasonable tool for

distinguishing between true patterns and chance fluctuations. Such an

argument was never presented to the Court in Stupp III. Instead, SeAH’s

challenge to the Ratio Test in Stupp III was based on the claim that the Ratio

Test used completely arbitrary cut-offs that had no basis in evidence,

mathematics, or logic. The Court upheld Commerce’s choice of cut-offs

solely on the grounds that they were as reasonable as any other arbitrary cut-

offs that it considered.37

       In these circumstances, Commerce’s use of Cohen’s d when the

assumptions described by Professor Cohen are not satisfied means that its

DPA fails to satisfy the statute’s requirement that there be a “pattern” of

significant price differences, and not just chance fluctuations, before

Commerce may consider an alternative dumping-margin calculation

methodology. Nothing in Commerce’s redetermination and nothing in the




37
     See Stupp III, 5 F.4th at 1355. See also SeAH’s Initial Brief at 35.



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Appellees’ briefs explains how “actual patterns” might be distinguished from

random fluctuations using Commerce’s DPA.

          3. Record Evidence Confirms that the Results of
             the DPA in this Case Were Inflated by Random Changes
             in Exchange Rates that Were Outside SeAH’s Control

      The Government also contends that the failure of the DPA to distinguish

“actual patterns” from random fluctuations is irrelevant, because “{t}he

allegation that a company’s prices may be set by random chance has no basis

in law or fact.”38 Tellingly, the Government does not cite any principle of law

that prevents random factors from affecting a company’s prices. Nor does it

provide any factual or logical justification for its claim: Economic theory

states that prices are set by the interplay of supply and demand in the market,

not by the dictates of any one producer. And the evidence is clear that SeAH

does not have the kind of market power needed to dictate prices to its

customers. 39


38
     Government Brief at 34.
39
   The petition in this case indicates that SeAH sold its product during the
relevant period in competition with 18 U.S. producers, and also faced
competition from 12 other Korean producers and 6 Turkish producers, in
addition to producers in other countries. See Petition, Volume I, at 2-5
(listing U.S. producers) and Exhibit I-4 (listing Korean and Turkish
producers) (Appx0551-0554, Appx0594-0600). Furthermore, the evidence
shows that the line pipe offered by these producers was fungible and sold in
the same geographic markets. See id., at 20-21 (Appx0569-0570).



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     Furthermore, the evidence in this particular case demonstrates precisely

how Commerce’s results can be distorted by random factors. It is well-

settled, for example, that exchange rate movements are indistinguishable from

a “random walk” — and plainly not under the control of any particular

exporter.40 And, in this case, the slight movements in exchange rates over the

investigation period were sufficient, by themselves, to create an affirmative

finding under Commerce’s DPA.

     In our arguments before the CIT, we presented the following table which

summarized the average exchange rate and the standard deviation for each

individual quarter of the investigation period, the average exchange rate and

standard deviation for the remaining three quarters of the period to compare

to each quarter, the pooled standard deviation, and the Cohen’s d statistic for

comparisons of each quarter to the other three.41




40
  See, e.g., F. Alvarez, A. Atkeson, and P. Kehoe, If Exchange Rates Are
Random Walks, Then Almost Everything We Say about Monetary Policy is
Wrong, FEDERAL RESERVE BANK OF MINNEAPOLIS RESEARCH DEPARTMENT
STAFF REPORT 388, 1 (Mar. 2007) (reporting “well-established feature of the
data” that “nominal rates of exchange between major currencies are well-
approximated by random walks.”).
41
  SeAH’s June 14, 2022, Comments on Third Remand Redetermination at 24
(Appx5627).



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                          Analysis of Exchange Rates by Quarter


                                          Q1           Q2             Q3           Q4
                                    (10~12/2013)   (1~3/2014)     (4~6/2014)   (7~9/2014)
    This      Minimum                 0.000910     0.000922       0.000937     0.000958
   Quarter    Maximum                 0.000952     0.000952       0.000987     0.000991
              Average                 0.000940     0.000936       0.000966     0.000974
              Standard Deviation      0.000009     0.000006       0.000016     0.000009
   Other 3    Average                 0.000959     0.000960       0.000950     0.000947
  Quarters    Standard Deviation      0.000020     0.000019       0.000019     0.000018
 Comparison   Difference in Means     0.000019     0.000025       0.000016     0.000027
              Pooled Std. Dev.        0.000016     0.000014       0.000018     0.000014
              Cohen’s d                1.18915      1.72082        0.88579      1.91488


As that analysis demonstrated, the Cohen’s d statistics for comparisons of the

exchange rates in each quarter to the exchange rates in the other three quarters

are greater than 0.8 for every single quarter.

    Furthermore, we also demonstrated that the same result would occur even

if the exporter fixed its U.S. invoice prices at a uniform amount in U.S.

dollars, as long as there was some expense incurred in Korean Won that was

subtracted from the invoice amount to determine the net U.S. price used in

Commerce’s analysis. For example, SeAH reported in this case that it

incurred costs in Korean Won to transport merchandise from its plant to the

Korean port of exportation. For sales made from U.S. inventory, SeAH could

not identify the actual cost of this Korean inland freight on a transaction-

specific basis, but instead reported a period-average cost of roughly 13,000




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Korean Won per ton.42 Commerce converted that amount into U.S. dollars

for each sale using the exchange rate on the date of the sale, and subtracted

that U.S. dollar amount from SeAH’s U.S. dollar invoice prices to determine

the net U.S. price used in its Cohen’s d calculations. As we demonstrated to

the CIT, the minor fluctuations in the exchange rates used to convert this

relatively minor expense in Korean Won to U.S. dollars would lead

Commerce to find that 100 percent of SeAH’s sales “passed” the Cohen’s d

test and thus apply the A-to-T methodology to all sales, even though the same

expense was reported for all U.S. sales, and even if SeAH charged the same

price to all U.S. customers on all sales during the period.43

      The evidence therefore confirms that the analysis of price differences

over time was necessarily distorted by slight changes in exchange rates over

the investigation period. Those exchange-rate changes were, by themselves,

sufficient to cause all of SeAH’s U.S. sales to pass the Ratio Test. Contrary

to the Government’s claims, the evidence demonstrates that SeAH’s prices

were affected by random factors, and the distortion in this case was not

simply hypothetical.


42
 See SeAH’s February 2, 2015, Section C Response at 26-27 and
Appendix C-7 (Appx6341-6342, Appx6367-6369).
43
     See SeAH’s Comments on Third Remand at 25-28 (Appx5628-5631).



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      D.   Commerce’s Assertion that Professor Cohen’s
           Proposed Thresholds Can Be Used as Universal
           Yardsticks Because They Are Based on Real-World
           Observations Is Illogical and Contrary to the Evidence

      As noted in our initial brief, Commerce’s Redetermination did not

attempt to justify its use of Professor Cohen’s proposed thresholds as a matter

of statistical practice or as a matter of mathematical logic. Instead,

Commerce fell back on the claim that Professor Cohen’s rule-of-thumb that a

d of 0.8 indicates a “large” effect can be used as a universal yardstick,

because it reflects “real-world observed differences.”44 Indeed, Commerce’s

Redetermination concluded with the observation that “Dr. Cohen’s thresholds

are not based on the alleged statistical criteria but, rather, on real-world

observations.”45

      It is, undoubtedly, true that Commerce is not required to follow statistical

principles in its dumping calculations. But that does not mean that it is

reasonable for Commerce to rely on any rule-of-thumb that is purportedly

derived from real-world observations of some unrelated phenomenon.

Instead, before Commerce can rely on such a rule-of-thumb, it must

demonstrate that the phenomenon from which the rule-of-thumb was derived


44
     See Redetermination at 20, 24, 28 (Appx0047, 0051, 0055).
45
     Id. at 65 (Appx0092).



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has some rational relationship to the situation for which Commerce intends to

apply that rule. In this case, Commerce has absolutely failed to meet that

burden.

             1. Professor Cohen’s Rules-of-Thumb Do
                Not Establish Universal Yardsticks

       As explained in our initial brief, Professor Cohen made it absolutely clear

that his proposed thresholds for evaluating d were not intended to establish

universal yardsticks that might be applied when the data being analyzed did

not meet the assumptions of Normality, equal variances, and sufficient data

points. Indeed, Professor Cohen cautioned against the use of his thresholds,

even when his assumptions were satisfied, outside of the specific field of

behavioral sciences.46

       The Government asserts that Professor Cohen “expresses no such

limitation.”47 In support of that claim, the Government points to Professor

Cohen’s statements that he hoped that his proposed cut-offs would be “easy to

grasp” and “will be found reasonable by reasonable people.”48 But neither of

those statements contradicts Professor Cohen’s explicit statements that the d


46
     See Cohen at 25 (Appx3768).
47
     Government Brief at 42.
48
     Id.



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statistic was to be used only in conjunction with a t-test and that a t-test can

only be used when the assumptions of Normality, equal variances, and

sufficient data points are satisfied. Furthermore, neither of the statements

cited by the Government contradicts Professor Cohen’s explicit statement that

the evaluation of any particular value of d had to be “relative … to the area of

behavioral science or even more particularly to the specific content and

research method being employed in any given investigation.”49

      Finally, regardless of Professor Cohen’s intent, it is simply unreasonable

to assume that rules-of-thumb based on the heights of teenaged girls or the

IQs of different types of students establish a yardstick for evaluating SeAH’s

prices in the absence of some reason to believe that prices for steel pipe

should follow the same patterns as heights and IQs. As we have noted

previously, it might be acceptable to use thresholds derived from an analysis

of Normal distributions as a yardstick for evaluating other Normal

distributions. And it is true that heights and IQs are Normally distributed.

But there is no reason to believe that the prices for steel pipe should be




49
     Cohen at 25 (Appx3768).



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Normally distributed, and the evidence on the record confirms that SeAH’s

actual prices are not Normally distributed.50

      Commerce certainly has never offered any mathematical, empirical, or

logical basis for assuming that thresholds derived from an analysis of Normal

distributions have any meaning for non-Normal distributions. Commerce has

never addressed the fact that Normal distributions — whether based on a

sample or encompassing an entire population — have very different

mathematical characteristics than non-Normal distributions, and that those

different mathematical characteristics have a direct impact on the meaning of

the calculated d statistic. Appellees’ briefs simply ignore this fundamental

flaw in Commerce’s reasoning.

          2. The Evidence Confirms that There Are No
             Discernible Differences in the Prices for
             Products that, According to Commerce, Show
             a “Large” Effect Size under Its Cohen’s d Test

      In our initial brief, we presented two diagrams of the price data for the

very first customer (number 102020) analyzed by Commerce’s margin

calculation program, and the first product (control number 1-03-03-06-1) that

was found to pass the Cohen’s d test for that customer. The first diagram

showed how the prices would appear if the data had satisfied the requirements

50
     SeAH’s September 9, 2015, Case Brief at 31, n.49 (Appx6372).



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set forth in Professor Cohen’s text. In particular, we showed that two Normal

distributions with the means identified by Commerce ([number] for customer

102020 and [number] for the base group), with variances equal to the pooled

standard deviation of [number] calculated by Commerce, and with a large

enough number of data-points would look like this:

                              Normal Distributions with the
                         Same Means and Standard Deviations
                    as the “Target” and “Base” Groups for U.S. Sales
                  of Control Number 1-03-03-06-1 to Customer 102020




                                     Diagram




As we noted, visual examination of the diagram would appear to show a

“pattern” of price differences between the two groups, with the prices for

customer 102020 appearing to be markedly lower than those of the base

group.




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     In our second diagram, we showed the actual dispersion of the individual

prices for sales to the target and base groups (by date of sale), as follows:


                                 Actual Prices for U.S. Sales
                        in the “Target” and “Base” Groups for Sales
                   of Control Number 1-03-03-06-1 to Customer 102020




                                      Diagram




As we noted, visual inspection of the actual individual sales prices in this

diagram does not reveal any actual pattern by customer. The sales of control

number 1-03-03-06-1 to customer 102020 are clustered precisely in the

middle of the prices for sales of that product to other customers.51


51
  Numerical analysis of the actual prices reveals that there were 13 sales to
the base group at prices below the lower of the two sales to customer 102020;
17 sales to the base group at prices above the higher of the two sales to
customer 102020; and 6 sales to the base group at prices in-between the prices
to customer 102020.



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       The Government objects to our first diagram on the grounds that it does

not reflect SeAH’s actual products for the product and customers in

question.52 The purpose of their objection is, however, unclear. We

presented the first diagram as a counterfactual showing the situation that

would exist if Professor Cohen’s requirements had been satisfied (and for

which a finding of a “large” effect size might have been appropriate). The

fact that SeAH’s actual prices did not follow that pattern was precisely the

point.

       The Government also objects to our second diagram on the grounds that it

improperly assumes that a “large” difference in prices would be “visually

discernible.” According to the Government, “Many types of information

cannot even be visually observed.” The Government further contends that

“for IQ scores of individuals or prices, one cannot visually see such data.”53

But those arguments are simply incoherent.54



52
     Government Brief at 49.
53
     Id at 49-50.
54
   Welspun also contends that the absence of any pattern of significant price
differences depicted in our second diagram simply means that the variances in
the prices was small. Welspun Brief at 49. According to Welspun, any
distortion caused by a finding of a large Cohen’s d from such small variances
would be remedied by application of the “meaningful difference” test. id.,
at 51-52. However, as demonstrated above, the “meaningful difference” test
                                         (footnote continued on following page)

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      To begin with, Professor Cohen himself stated that his “medium”

threshold was intended to identify differences that were “large enough to be

visible to the naked eye,” and his “large” threshold was intended to identify

effects that were “grossly perceptible.”55 Since a “medium” effect size is

“visible to the naked eye,” and a “large” effect size is even bigger than that,

the Government’s claim that “large” differences are not “visually discernible”

simply cannot be reconciled with Professor Cohen’s own description of his

thresholds.

      More generally, the Government’s suggestion that information other than

physical characteristics cannot be “visually observed” is refuted by an entire

body of literature describing how such data can be visualized.56 Indeed, the

academic literature considered by Commerce specifically referred to the




(footnote continued from previous page)
does not always remedy such issues. And, more importantly, Welspun has
misrepresented the problem identified by our second diagram: The problem
is not that the difference in prices is small but, instead, that there is no
consistent difference in the prices for the specific customer and for the base
group.
55
     See Cohen at 26-27 (Appx3770).
56
  See., e.g., E. Tufte, THE VISUAL DISPLAY OF QUANTITATIVE INFORMATION
(2d ed. 2001).



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visual analysis of data.57 The Government’s bizarre suggestion that data

concerning non-physical characteristics cannot be visualized demonstrates

only its desperation to dispute the irrefutable fact that there is no discernible

“pattern” or “significant difference” in the actual data for SeAH’s sales

prices.

          3. The Government’s Depiction of
             Differences in the Average Prices for
             SeAH’s Sales Is Deliberately Misleading

      Despite its assertion that prices cannot be visualized,58 the Government

also contends that a significant difference in prices can be seen for the

customer and product referenced in our initial brief by a simple comparison of

the average prices for the two products. In support of that claim, the

Government has submitted a bar chart that purports to compare the average

prices for the “test” customer and the “base group” for control number




57
  See. e.g., Algina, Kesselman, Penfield, An Alternative to Cohen’s
Standardized Mean Difference Effect Size: A Robust Parameter and
Confidence Interval in the Two Independent Groups Case, 10
PSYCHOLOGICAL METHODS 317, 319 and 327 (2005) (Appx4353, 4355,
4363); Li, Effect Size Measures in a Two-Independent-Samples Case with
Nonnormal and Nonhomogeneous Data, 48 BEHAV RES 1560, 1561 (2018)
(Appx4559-4560).
58
     Government Brief at 49-50.



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1-03-03-06-1. According to the Government, this bar chart shows a grossly

perceptible difference in the average prices of the two groups.59

      It should be noted, however, that the Government’s has truncated the

y-axis of its chart — starting its bars at a baseline of 600, rather than 0. Such

truncation results in a gross exaggeration of the differences between the two

bars. Indeed, a bar chart with a baseline different from zero has been

described by one expert on data visualization as “the most conspicuous trick

to distort your perception of numbers.”60 Other experts have decried the

truncation of bar charts in such a manner as “biased,” “dishonest,”

“deceptive,” “lying with statistics,” and “the worst of crimes in data

visualization.”61 The Government’s reliance on a chart employing such

trickery does not establish that a perceptible difference actually existed.62


59
     Government Brief at 51.
60
     See Cairo, HOW CHARTS LIE (2019), at 13.
61
  See Correll, Bertini, and Franconeri, Truncating the Y-Axis: Threat or
Menace?, PROCEEDINGS OF THE 2020 CHI CONFERENCE ON HUMAN FACTORS
IN COMPUTING SYSTEMS, available at
« https://arxiv.org/pdf/1907.02035.pdf ».
62
   The Government contends that the use of a truncated Y-Axis is consistent
with SeAH’s presentation of the scatter-plot of actual prices for the relevant
control number. However, the issue of truncating the Y-Axis does not arise in
graphs, such as scatter-plots, that show trends in data and do not attempt to
draw conclusions about differences in absolute magnitude. See Correll et al.
at 3. (“{E}xisting guidelines for the design of line graphs and scatterplots
                                         (footnote continued on following page)

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    In any event, it is ironic that the Government has suggested that a simple

comparison of average prices is sufficient to identify a significant difference

in prices. After all, the entire purpose of the DPA is to determine whether

comparisons are distorted by the use of averages. Comparing averages that

mask the trends in individual prices to determine whether averages mask the

trends in individual prices is inherently illogical and unreasonable.

    E.   Commerce’s Statistics Regarding the Impact
         of the DPA on Its Results Are Misleading

    As noted in our initial brief, Commerce asserted, and the CIT appears to

have agreed, that the reasonableness of Commerce’s methodology could be

assessed based on statistics concerning the percentage of cases in which the

DPA affected the result. In response, we noted (1) that the “reasonableness”

of the number of cases affected cannot be assessed in a vacuum, without

knowing what the “correct” percentage should have been; (2) that

Commerce’s statistics are irrelevant to the situation presented in this case,

because they included the results for investigations in which Commerce

applied a different standard for measuring whether a “meaningful difference”

existed; and (3) that an analysis of investigations in which Commerce applied


(footnote continued from previous page)
focus on making the overall trend as visible (and decodable with the least
error) as possible.”).



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the same “meaningful difference” test that was applied in this investigation

would have found that Commerce’s DPA increased the dumping margins

from de minimis to above de minimis in more than 50 percent of such

investigations.63

      Appellees contend that Commerce’s analysis of the impact of the DPA on

its cases was reasonable, because it included all investigations during the

period considered.64 But that argument ignores the key point: Commerce

does not have a single DPA that it applies in all cases. Instead, it has two

different DPAs — one that applies when the A-to-A margin would be de

minimis (in which case, any change from below de minimis to above de

minimis is considered to constitute a “meaningful difference”), and a second

that applies when the A-to-A margin would be above de minimis (in which

case, an increase in the dumping margin of 25 percent is required to find a

“meaningful difference”).

      In this case, SeAH’s dumping margin under the A-to-A methodology

would have been 1.97 percent. Commerce therefore applied its first version

of the DPA. Under that version, in order for a “meaningful difference” to be



63
     See SeAH’s Initial Brief at 38-43.
64
     See Government Brief at 56-58, Welspun Brief at 59-61.



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found, all that was required was that the dumping margin increase from 1.97

to 2.00 percent. In other words, an increase of 0.03 percentage points (or 1.5

percent of SeAH’s A-to-A margin) would have been sufficient to cause

Commerce to apply the A-to-T methodology. The effect of the DPA on other

cases — where the dumping margins would have been above de minimis

under any methodology, and where Commerce required an increase in the

dumping margin of 25 percent — says nothing about the effect of the DPA in

the form in which it was applied to SeAH.

    In the end, however, the entire discussion is irrelevant, because the

reasonableness of a methodology cannot be assessed based on its impact on

the results in the absence of an objective baseline. The chance of rolling a

“lucky seven” with two six-sided dice is one in six (or 16.67 percent). But we

cannot imagine that even the most deferential Court would allow Commerce

to decide whether to apply the A-to-A or A-to-T methodology just by rolling

the dice and applying the A-to-T methodology whenever it rolled a seven.

The fact that 16.67 percent may fall within some judge’s preconceived notion

of an “acceptable” range does not make rolling the dice a reasonable

methodology.

    As we have explained at length, Commerce does not apply its Cohen’s d

test in a statistically-sound manner. As a result, the outcome of its analysis is



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essentially as random as a dice roll. Figures about the percentage of cases

affected by Commerce’s analysis cannot transform its random test into a

reasonable implementation of the statutory requirements.

                                 CONCLUSION

    In light of the foregoing, we respectfully request that the Court reverse

the decision by the CIT and remand this case with instructions requiring

Commerce to recalculate the dumping margins for SeAH using an average-to-

average comparison.

                                      Respectfully submitted,

                                      /s/Jeffrey M. Winton

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January 8, 2024




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                       FOR THE FEDERAL CIRCUIT

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          Case Number: 2023-1663

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  Date: _________________                       Signature:        /s/ Jeffrey M. Winton


                                                Name:             Jeffrey M. Winton
              Case: 23-1663          Document: 71          Page: 45   Filed: 01/08/2024



FORM 30. Certificate of Service                                                              Form 30
                                                                                            July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF SERVICE

            Case Number 2023-1663
   Short Case Caption Stupp Corporation v. U.S.


 NOTE: Proof of service is only required when the rules specify that service must
 be accomplished outside the court’s electronic filing system. See Fed. R. App. P.
 25(d); Fed. Cir. R. 25(e). Attach additional pages as needed.

I certify that I served a copy of the foregoing filing on 01/08/2024

by      □        U.S. Mail     □          Hand Delivery          □ Email      □ Facsimile
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        ✔        Other: Password-protected link sent via Email

on the below individuals at the following locations.

        Person Served                       Service Location (Address, Facsimile, Email)

Robert R. Kiepura                    robert.kiepura@usdoj.gov


Jeffrey David Gerrish                jgerrish@schagrinassociates.com




□    Additional pages attached.
       01/08/2024
 Date: _________________                           Signature:    /s/ Jeffrey M. Winton

                                                   Name:         Jeffrey M. Winton
              Case: 23-1663          Document: 71    Page: 46     Filed: 01/08/2024



FORM 31. Certificate of Confidential Material                                          Form 31
                                                                                      July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                    CERTIFICATE OF CONFIDENTIAL MATERIAL

           Case Number: 2023-1663

  Short Case Caption: Stupp Corporation v. U.S.

 Instructions: When computing a confidential word count, Fed. Cir. R.
 25.1(d)(1)(C) applies the following exclusions:

     •   Only count each unique word or number once (repeated uses of the same
         word do not count more than once).

     •   For a responsive filing, do not count words marked confidential for the first
         time in the preceding filing.

 The limitations of Fed. Cir. R. 25.1(d)(1) do not apply to appendices; attachments;
 exhibits; and addenda. See Fed. Cir. R. 25.1(d)(1)(D).


                                5
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                 U.S.C. § 1491(b).

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                 confidentiality requirements.
        01/08/2024
  Date: _________________                       Signature:   /s/ Jeffrey M. Winton

                                                             Jeffrey M. Winton
                                                Name:
